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                         IN THE UNITED STATES DISTRICT COURT

                                     DISTRICT OF UTAH
     LAURA A. GADDY, individually and
                                               MOTION REQUESTING JUDICIAL
     on behalf of all others similarly
                                                    NOTICE BE TAKEN
     situated,
                                                    (Request for Oral Argument)
              Plaintiffs,
                                                  (DEMAND FOR JURY TRIAL)
                    v.
                                                Oral Argument on Motion to Dismiss
     CORPORATION OF THE
                                                  Currently Set for: Dec. 10, 2020
     PRESIDENT OF THE CHURCH
     OF JESUS CHRIST OF LATTER-                     2:19-cv-00554-RJS—DBP
     DAY SAINTS, a Utah corporation
     sole.                                      Chief District Judge Robert J. Shelby
                                                  Magistrate Judge Dustin B. Pead
              Defendant
                            MOTION REQUESTING JUDICIAL NOTICE

       Plaintiff(s) request that pursuant to Fed. R. Evid. 201, the Court take judicial

notice of the following adjudicative facts which are readily ascertainable and not subject

to dispute. All the facts requested to be noticed are either contained within Defendant’s

official newsroom report, or in the online version of the Joseph Smith Papers, also

published by Defendant.1


1
 The publisher of the [Joseph Smith Papers] project’s print and web publications is [T]
he Church Historian’s Press, an imprint of the Church History Department of [T]he
Church of Jesus Christ of Latter-day Saints.”
https://www.josephsmithpapers.org/articles/about-the-project Accessed Nov. 15, 2020.
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The facts requested to be noticed are:

       1. On August 4, 2015, Defendant published a “never before seen” photo of an

          opaque brown stone, which it claimed was used by Joseph Smith to translate

          the Book of Mormon.2 Attached is an accurate photo of the brown stone. (See

          Exhibit 1 filed herewith—photo of the stone; Exhibit 2 filed herewith, p. 5 for

          “never before” language; and, Exhibit 3, p.4 ¶ 2, filed herewith, for outright

          admission that the brown stone was used, without the qualification “likely.”)

       2. Eyewitnesses claimed that when Smith used the stone, he placed it in a hat to

          exclude exterior light. 3 (Note: footnote 10 within this quotation contains a long

          list of eyewitnesses who attest to Smith using the stone to dictate the Book of

          Mormon.)

       3. The brown stone has been in Defendant’s custody since the Mormon

          pioneers crossed the plains in the mid-19th Century.4 (See Exhibit 3, p.4 ¶ 2.)




2
  The official LDS newsroom report from August 4, 2015 does not currently include a
photo of the brown seer stone. However, it is believed that it did so on the date of the
initial announcement, that is August 4, 2015. Other sources published the photo of the
stone in their reporting, many indicating that it was the first ever publication of the stone.
https://www.churchofjesuschrist.org/search?lang=eng&query=seer%20stone%20August
%204%2C%202015&facet=newsroomHQ&hidefacets=true&highlight=true&page=1
3
  https://www.josephsmithpapers.org/topic/seer-stone Accessed Nov. 16, 2020, see
also Exhibit 1.
Exhibit 2 is the article as it now appears in Defendant’s archives. See also Exhibit 3, p.4
¶ 2: https://newsroom.churchofjesuschrist.org/2015-year-in-review/article/church-
history-department-releases-book-of-mormon-printer-s-manuscript-in-new-book
accessed Nov. 16, 2020.
4
  Id.
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               POINTS AND AUTHORITIES IN SUPPORT OF REQUEST

    1. Historical Documentation is Undisputed.

    The following excerpts are Defendant’s own, taken either from a new release on its

website, or from the Joseph Smith Papers Project, which is published by the Church

History Department.

           a. From Defendant’s news archives:

    An accompanying article on the history of the Book of Mormon translation will
    appear in the October 2015 issue of the Church’s Ensign magazine and is now
    available online. Both the introduction to the new volume and the magazine article
    discuss the instruments Joseph Smith used to translate, and both include never-
    before-seen photographs of a seer stone Joseph Smith likely used in the
    translation of the Book of Mormon.
    The stone he used in the translation was often referred to as a chocolate-colored
    stone with an oval shape. The stone was passed from Joseph Smith to scribe
    Oliver Cowdery and then from Cowdery’s widow, Elizabeth Whitmer Cowdery, to
    Phineas Young. Young then passed it on to his brother, Brigham Young, the
    second president of the Church. After President Young died, one of his wives, Zina
    D. H. Young, donated it to the Church. In addition to this seer stone, historical
    records indicate that Joseph Smith owned other seer stones during his lifetime.5

           b. From the Joseph Smith Papers Project:

        The following language is excerpted from the Joseph Smith Papers Project: “In

addition to the photographs and transcripts of the manuscript, this volume also

includes…never-before-seen photographs of a seer stone Joseph Smith likely used in

the translation of the Book of Mormon.” 6 (Exhibit No. 2, p. 5).



5
  https://newsroom.churchofjesuschrist.org/article/church-history-department-releases-
book-of-mormon-printer-s-manuscript-in-new-book See also Exhibit no. 3, p. 4.
6
  https://www.josephsmithpapers.org/articles/news-2015 See also Exhibit no 2, p. 5.
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        2. The Request does not Require the Court to Determine the Truth of whether

                      Smith Translated or Simply Dictated using the Stone.

        The facts to be noticed do not require the Court to adjudicate whether Smith

translated or merely dictated the Book of Mormon. They merely ask the Court to:

1) Notice that it was approximately 5 years ago that Defendant first admitted that a

brown stone was used in the creation of the Book of Mormon; and 2) Notice the fact that

the stone was placed in Smith’s hat while he was using it; and 3) Notice that Defendant

has had custody and control of the stone for more than a century and a half.

        One of the representations about its origins that Plaintiff claims Defendant did not

sincerely believe at the time it made them is that the Book of Mormon was translated

from gold plates (as depicted in numerous photographs, artwork, and in Defendant’s

correlated instructional and missionary manuals. See Exhibits 5, 7, 10 & 12 to the

Amended Complaint for examples of the depictions. See Amended Complaint,

paragraphs 73 & 74 for representations that Smith studied the gold plates and then

translated directly from the writing on those plates.)

        Here are the examples:

        In the context of a correlated primary lesson,“73…[Tell the children that] first

Joseph spent a lot of time becoming familiar with the plates and the language in which

they were written…”7




7
    Amended Complaint (ECF#37) ¶ 73.
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         In the context of a gospel art kit: “74…When the Prophet Joseph Smith received

the golden plates from the angel Moroni, he studied the strange language written on

them…As Joseph read out loud from the plates, Oliver wrote down the words…”8

         Prior to August of 2015, Defendant had never published an account with

accompanying artwork depicting Smith “translating” the Book of Mormon while looking

at a brown stone buried in his hat. And, while that distinction may not have made a

difference to some, it certainly made a difference to those who have resigned from the

LDS Church (as indicated in the LDS Personal Faith Crisis Report, ECF #23).

         “Translate” is defined as: “to change words into a different language.”9 It

connotes some predisposed knowledge of the source language; here, Smith that

language to be reformed Egyptian. And, as indicated in the language taken from the

correlated material as set forth in ¶¶ 73 and 74 of the Amended Complaint, study. But

what has been admitted over the last several years is that Smith placed the brown stone

in his hat and dictated words he claimed appeared on the stone, without looking at the

gold plates. This description of the translation process contradicts the artwork

promulgated, posted, republished, and hung in LDS chapels, temple visitors’ centers,

and in correlated instructional and missionary manuals for 60 or more years.

         Defendant took the photograph of the stone (Ex. 1); it is the first ever published.

Though it does not appear in subsequent versions of its August 4, 2015 press release,

there is no dispute that it is Defendant’s photo, first published in August of 2015.


8
    Amended Complaint (ECF #37) ¶ 74.
9
    https://dictionary.cambridge.org/us/dictionary/english/translate
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      3. Fed. R. Evid. 201 and supporting Case Law Support the Notice Requested.

   Rule 201. Judicial Notice of Adjudicative Facts
   (a) Scope. This rule governs judicial notice of an adjudicative fact only, not a
   legislative fact.
   (b) Kinds of Facts That May Be Judicially Noticed. The court may judicially
   notice a fact that is not subject to reasonable dispute because it:
   (1) is generally known within the trial court's territorial jurisdiction; or
   (2) can be accurately and readily determined from sources whose accuracy
   cannot reasonably be questioned.
   (c) Taking Notice. The court:
   (1) may take judicial notice on its own; or
   (2) must take judicial notice if a party requests it and the court is supplied with the
   necessary information.
   (d) Timing. The court may take judicial notice at any stage of the proceeding.
   (e) Opportunity to Be Heard. On timely request, a party is entitled to be heard on
   the propriety of taking judicial notice and the nature of the fact to be noticed. If the
   court takes judicial notice before notifying a party, the party, on request, is still
   entitled to be heard.

Fed. R. Evid. 201

    A court may take judicial notice of a fact that is not subject to reasonable dispute
    because the fact “can be accurately and readily determined from sources whose
    accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b). This rule
    allows courts to “take judicial notice of ... facts which are a matter of public
    record.” Tal v. Hogan, 453 F.3d 1244, 1264 n.24 (10th Cir. 2006) (citation
    omitted). If a party requests that a court take judicial notice of a fact and supplies
    the court with the necessary information to do so, the court must
    take judicial notice of the fact. Fed. R. Evid. 201(c).

United States ex rel. Brooks v. Stevens-Henager Coll., Inc., 359 F. Supp. 3d 1088, 1102
(D. Utah 2019).

    Federal Rule of Evidence 201 provides that a court may take judicial notice on
    its own; or “must take judicial notice if a party requests it and the court is
    supplied with the necessary information.”16 Necessary information is supplied to
    the Court if documents presented to the Court for judicial notice “can be
    accurately and readily determined from sources whose accuracy cannot
    reasonably be questioned.”17

Burrows v. LoanLeaders of Am. Corp., No. 2:14-CV-544 DN, 2014 WL 5824675, at *3
(D. Utah Nov. 10, 2014)
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                                      CONCLUSION

       Fed. R. Evid. 201(d) allows judicial notice at any stage. Since the pending

12(b)(6) motion is a dispositive one, Plaintiff believes her request is reasonable at this

stage. She has provided the Court with the necessary evidence pursuant to Fed. R.

Evid. 201(b)(2). Fed. R. Evid. 201 (e) also requires that she be heard on the matter.

       Wherefore, considering Defendant’s request for a continuance of the currently

scheduled hearing on its Motion to Dismiss, Plaintiff requests that the Court allow her to

be heard on her Request for Judicial Notice prior to hearing argument on Defendant’s

12(b)(6) motion. A proposed Order will be filed and submitted herewith.

                                                 Respectfully submitted,



DATED this 17th day of November 2020.            Kay Burningham, Attorney at Law

                                                 /s/   Kay Burningham

                                                Kay Burningham

                                          Attorney for Laura A. Gaddy and the Class
